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A0245 B      (Rev. 11116) Judgement in a Criminal Case
                           Sheet I


                                      UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA
                                                                     JUDGMENT IN A CRIMINAL CASE
          VS.

LEWIS R. DAVENPORT                                                   CASE NUMBER: 3:CR-16-286-01
                                                                     USM NUMBER: 75478-067

                                                                      INGRID S. CRONIN, ESQ.
                                                                     Defendant's Attorney

THE DEFENDANT:
[Xl pleaded guilty to count one (1) and four (4).
[ 1pleaded nolo contendere to count(s)_ _ _ _ _ _ _ _ _ _ _ __
   which was accepted by the court.
[ ] was found guilty on count(s)                  after a plea of not guilty.

The defendant is adjUdicated guilty of these offenses:
                                                                                                                   Count
Title/Section               Nature of Offense                                               Offense Ended         Number(sl
18:371                      Conspiracy to Commit Theft                                      Sept 2015             Ct. 1.
18:1028A(a)(l) and 2        Aggravated Identity Theft, Aid and Abet                         Sept 2015             Ct. 4.




    The defendant is sentenced as provided in pages 2 through~of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
[ ] The defendant has been found not guilty on
[X] Counts two (2) and three (3) are dismissed on the motion of the United States.

   IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence or, mailing address until all fines, restitution, costs and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
change in economic circumstances.




                                                                      Date
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                                                                                                                                                          \
A0245 B          (Rev.11/16) Judgment in a Criminal Case
                              Sheet 2 Imprisonment
                                                                                                                                                          i
Defendant: LEWIS R. DAVENPORT                                                                                                    Judgment-Page _2_of_6_
Case Number: 3;CR·16·286·01
                                                                          IMPRISONMENT

   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
forty-eight (48) months. This term consists of terms of twenty· four (24) months on Count 1 and twenty·four (24) months on
Count 4, to run consecutively for an aggregate term of forty-eight-nine (48) months imprisonment.




   You can appeal your conviction if you believe that your guilty plea was somehow unlawful or involuntary, or if there is some other
fundamental defect in the proceedings that was not waived by your guilty plea. You also have a statutory right to appeal your sentence
under certain circumstances, particularly if you think the sentence is contrary to law. With few exceptions, any notice of appeal must
be filed within 14 days after sentence is imposed on you.

   If you are unable to pay the cost of an appeal, then you may apply for leave to appeal in forma pauperis. If you so request, the
Clerk of Court will prepare and file a notice of appeal on your behalf."


[X] The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the Bureau of Prisons
allow the defendant to participate in the 500 hour drug treatment program should he be deemed eligible.




[Xl The defendant is remanded to the custody of the United States Marshal.
[ 1The defendant shall surrender to the United States Marshal for this district.
     [ 1at_ _a.m.lp.m. on:-:-:--:--_ _ _ __
     [1 as notified by the U.S. Marshal.
[ J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
      [ 1before 2 p.m. on _,....-,_ __
     [ 1as notified by the United States Marshal.
     [ 1as notified by the probation office.
     [ 1The defendant is to contact the United States Marshal's Office no later than three days prior to the above date to be notified of the place
       of confinement.



                                                                                   RETURN
    I have executed this judgment as follows:




    Defendant delivered on_ _ _ _to_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _a

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, with a certified copy of this judgment.
                                                                                                                                                          I
                                                                      United States Marshal
                                                                                                                                                          II
                                                                                                                                                          I
                                                        By_______________________________                                                                 ,t
                                                                                                                                                          1

                                                                       Deputy Marshal                                                                     ~
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AO 245 B     (Rev .11/16) Judgment in a Criminal Case
                           Sheet 3 - Supervised Release
Defendant: LEWIS R. DAVENPORT                                                                        Judgment-Page _3_of_6_
Case Number: 3:CR·16·286·01
                                                        SUPERVISED RELEASE
  Upon release from imprisonment, you will be on supervised release for a term of two (2) years. This term consists of two (2) years on
Count 1 and one (I) year on Count 4, to run concurrently. Within seventy-two (72) hours of release from the custody of the Bureau of
Prisons, the defendant shall report in person to the Probation Office in the district to which the defendant is released.


THE COURT FINDS that the defendant does not have the ability to pay a fine, but he shall make restitution of $1,174.89, payable to
the Clerk, U.S. District Court, for disbursement to ESSA Bank & Trust ($614.78) and Bradford Hoke ($560.11).
IT IS ORDERED that no further payment shall be required after the sum of the amounts actually paid by this defendant and his co­
conspirator Ashley A. Perez has fully covered all of the compensable harm.
IT IS FURTHER ORDERED that the defendant shall pay to the Clerk, U.S. District Court, a special assessment of $1 00, on each of
Counts 1 and 4, for a total of $200, due immediately.
During the term of imprisonment, restitution is made payable every three months in an amount, after a telephone allowance, equal to
50 percent of the funds deposited into the defendant's inmate trust fund account.
In the event the restitution is not made in full prior to the commencement of supervised release, the defendant shall, as a condition of
supervised release, satisfy the amount due in monthly installments of no less than $100, to commence thirty (30) days after release
from confinement.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached pages.
I) The defendant shall undergo a mental health evaluation and, if recommended, the defendant shall satisfactorily complete a program
of outpatient or inpatient mental health treatment;
2) The defendant shall undergo a substance abuse evaluation and, if recommended, the defendant shall satisfactorily complete a
program of outpatient or inpatient substance abuse treatment;
3) The defendant shall not incur new credit card charges or open additional lines of credit without the approval of the probation officer
unless the defendant is in compliance with the installment schedule for payment of restitution, fines, or special assessment;
4) The defendant shall provide the probation officer with access to any requested financial information; and
5) The defendant shall provide all monies received from income tax refunds, lottery winnings, judgments, and/or other anticipated or
unexpected financial gains to the outstanding court ordered financial obligation.




                                                          MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
   from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           [] The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              Substance abuse. (check if applicable)
4. [x] You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. [] You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.§ 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
      where you reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6. [] You must participate in an approved program for domestic violence. (check ifapplicabJe)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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A0245 B      (Rev. 1 1116) Judgment in a Criminal Case
                            Sheet 3A - Supervised Release
Defendant: LEWIS R. DAVENPORT                                                                        Judgment-Page ...i...of_6_
Case Number: 3:CR-16-286-0l


                                         STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
and when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
from the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
within 72 hours of becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
14. You must notify the court of any material change in your economic circumstances that might affect your ability to pay
restitution, fines, or special assessments.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ __                       Date
                                                                                -----------------
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A0245 B      (Rev. I 1116) Judgment in a Criminal Case
                            Sheet 5 - Criminal Monetary Penalties
Defendant: LEWIS R. DAVENPORT                                                                           Judgment-Page _5_of~
Case Number: 3:CR-16-286-0l

                                         CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                   Assessment                        JVTA Assessment*                Fine               Restitution
TOTALS             $200.00                           $                                $                 $1,174.89


[ ] The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be
entered after such determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                            Total Loss**                Restitution Ordered                Priority or Percentage
ESSA BANK & TRUST                        $614.78                     $614.78
BRADFORD HOKE                            $560.11                     $560.11




TOTALS                                   $ 1,174.78                 $1,174.89

[ ] Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          [ ] the interest requirement is waived for the [ ] fine [ ] restitution.
          [ ] the interest requirement for the G fine G restitution is modified as follows:



* Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed
on or after September 13, 1994, but before April 23, 1996.
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   AO 245 B       (Rev.11/16 Judgment in a Criminal Case
                               Sheet 6- Schedule of Payments
   Defendant: LEWIS R. DAVENPORT                                                                             Judgment-Page ~of_6_
   Case Number: 3:CR-16-286-01

                                                       SCHEDULE OF PAYMENTS

   Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

   A [ ] Lump sum payment          _________ due immediately, balance due

              [ ] not later than _ _ _ _ _ _, or

              [ ] in accordance with [ ] C, [ ] D, [ ] E or [ ] F below); or

   B [ ] Payment to begin immediately (may be combined with [ ] C, [ 1D, or [ ] F below); or

   C I] Payment in equal         (e.g., weekly, monthly, quarterly) installments                     over a period of
        _ _ _ _ _ _ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

   D I ] Payment in equal             (e.g., weekly, monthly, quarterly) installments                   over a period of
                           months or years), to commence                        30 or 60 days) after release from imprisonment to
         term of supervision; or

   E I] Payment during the term of supervised release will commence within                        30 or 60 days) after release
        from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.

   FIX ]The defendant does not have the ability to pay a fine, but he shall make restitution of$I,174.89, payable to the Clerk, U.S.
   District Court, for disbursement to ESSA Bank & Trust ($614.78) and Bradford Hoke ($560.11). No further payment shall be required
   after the sum of the amounts actually paid by this defendant and his co-conspirator Ashley A. Perez has fully covered all of the
   compensable harm. The defendant shall pay to the Clerk, U.S. District Court, a special assessment of $1 00, on each of Counts I and 4,
   for a total of $200, due immediately. During the term of imprisonment, restitution is made payable every three months in
   an amount, after a telephone allowance, equal to 50 percent of the funds deposited into the defendant's inmate trust fund account.
   In the event the restitution is not made in full prior to the commencement of supervised release, the defendant shall, as a condition of
   supervised release, satisfy the amount due in monthly installments of no less than $100, to commence thirty (30) days
   after release from confinement.


   Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
   criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
   through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


   [Xl Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
      corresponding payee, if appropriate. Lewis R. Davenport, 3:CR-16-286-0 I and Ashley A. Perez, 3 :CR-16-286-02,
      restitution of$I,174.89, payable to the Clerk, U.S. District Court, for disbursement to ESSA Bank & Trust ($614.78) and Bradford
      Hoke ($560.11). no further payment shall be required after the sum of the amounts actually paid by this defendant and his co­
   conspirator Ashley A. Perez has fully covered all of the compensable harm.

   [] The defendant shall pay the cost of prosecution.

   [ 1The defendant shall pay the following court cost(s): _ _ _ _ _ _ _ _ _ __

   [ ] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
